       The following cases in which the Court of Appeals issued published opinions have been
appealed to the Supreme Court:

    1. Lucinda Walker
       v. Virginia Department of Corrections-Greenville Correctional Center
       Record No. 1265-22-2
       Opinion rendered by Judge Lorish on
        January 16, 2024

    2. James David Watwood
        v. Commonwealth of Virginia
        Record No. 1148-22-2
        Opinion rendered by Judge Malveaux on
         February 6, 2024

    3. Carlos Ibanez, et al.
       v. Albemarle County School Board, et al.
       Record No. 0951-22-2
       Opinion rendered by Judge Lorish on
        February 20, 2024

    4. Melissa Nanette Diaz
       v. Commonwealth of Virginia
       Record No. 0056-23-1
       Opinion rendered by Judge Fulton on
        February 27, 2024

    5. Samantha Maxine Stilwell
       v. Commonwealth of Virginia
       Record No. 0884-23-3
       Opinion rendered by Judge Causey on
        February 27, 2024

    6. Jamar Paxton
        v. Commonwealth of Virginia
        Record No. 0910-22-2
        Opinion rendered by Senior Judge Petty on
         March 12, 2024

    7. Shanta Orlando Hubbard, a/k/a Shawn Hubbard
       v. Commonwealth of Virginia
       Record No. 0795-23-3
       Opinion rendered by Judge Lorish on
        March 12, 2024
   The following cases in which the Court of Appeals issued published opinions have been
disposed of by the Supreme Court:

1. Adrian Donnel Aley
   v. Commonwealth of Virginia
   Record No. 0693-21-4
   Opinion rendered by Judge AtLee
     on June 14, 2022
   Refused (220421)

2. Shiye Qiu
   v. Chaoyu Huang, et al.
   Record No. 0459-22-2
   Opinion rendered by Chief Judge Decker
     on April 18, 2023
    Refused (230342)

3. Marcus C. Holman, s/k/a, etc.
   v. Commonwealth of Virginia
   Record No. 0629-22-2
   Opinion rendered by Judge Ortiz
     on April 18, 2023
   Judgment of Court of Appeals reversed and final judgment entered on behalf
      of the Commonwealth on use of a firearm charge by opinion rendered on
      April 4, 2024 (230343)

4. Prashad Salunhke, et al.
   v. Christopher Customs, LLL, et al.
   Record No. 1195-22-4
   Opinion rendered by Judge Athey
     on August 22, 2023
   Refused (230678)

5. John Randolph Hooper
    v. Commonwealth of Virginia
   Record No. 0752-22-1
    Opinion rendered by Judge Beales
      on September 19, 2023
    Refused (230752)

6. Jeffrey Douglas Cheripka
    v. Commonwealth of Virginia
   Record No. 1153-22-2
    Opinion rendered by Senior Judge Petty
      on September 19, 2023
    Refused (230673)
7. Hugh Cameron Green
   v. Commonwealth of Virginia
   Record No. 0643-22-2
   Opinion rendered by Judge Beales
     on October 10, 2023
   Dismissed pursuant to Rule 5:14(a) (230778)
   The Supreme Court issued opinions in the following cases, which had been appealed from
this Court

1. Emergency Physicians of Tidewater, PLC, et al.
   v. Patricia Hanger
   Record No. 0121-22-1
   Memorandum opinion rendered by Judge Athey on February 7, 2023
   Judgment of Court of Appeals reversed and remanded to this Court to remand
     to trial court for further proceedings by opinion rendered on April 4, 2024
   (230199)

2. Vernon Eugene Hannah, s/k/a, etc.
   v. Commonwealth of Virginia
   Record No. 0700-22-1
   Memorandum opinion rendered by Judge Huff on April 4, 2023
   Judgment of Court of Appeals affirmed by opinion rendered on April 18, 2024
   (230316)

3. James Frederick Brown
    v. Commonwealth of Virginia
    Record No. 1373-21-4
    Memorandum opinion rendered by Judge Chaney on April 11, 2023
    Judgment of Court of Appeals vacated, judgment of trial court reinstated,
      and case dismissed
    (230379)
